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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. JENNIFER CHOE-GROVES, JUDGE
__________________________________________
                                           :
R.H. PETERSON CO.,                         :
                                           :
                        Plaintiff,         :                       Court No. 20-00099
                                           :
                  v.                       :                       PUBLIC VERSION
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________:



                                            ORDER

       Upon consideration of defendant’s cross-motion for summary judgment and response in

partial opposition to plaintiff’s motion for summary judgment, and upon consideration of all

other papers and proceedings had herein; it is hereby

       ORDERED that defendant’s cross-motion for summary judgment is granted;

       ORDERED that plaintiff’s motion for summary judgment is partially denied;

      ORDERED that CBP calculate antidumping and countervailing duties on the subject
merchandise based on the value of [[ ]] per sink kit for Entry Nos. D14-1432445-3, D14-
1434025-1, and D14-1435146-4;

        ORDERED that CBP calculate antidumping and countervailing duties on the subject
merchandise based on the value of [[   ]] per sink kit for Entry No. D14-1430362-2; and it is
further

      ORDERED that Count I of plaintiff’s complaint is denied with respect to Entry No.
D14-1430362-2.


Dated:                                              __________________________
New York, New York                                  Judge Jennifer Choe-Groves
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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. JENNIFER CHOE-GROVES, JUDGE
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                                           :
R.H. PETERSON CO.,                         :
                                           :
                        Plaintiff,         :                    Court No. 20-00099
                                           :
                  v.                       :                    CONFIDENTIAL VERSION
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________:

DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMETN AND RESPONSE IN
 PARTIAL OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT



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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. JENNIFER CHOE-GROVES, JUDGE
__________________________________________
                                           :
R.H. PETERSON CO.,                         :
                                           :
                        Plaintiff,         :                       Court No. 20-00099
                                           :
                  v.                       :                       CONFIDENTIAL VERSION
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________:


DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT AND RESPONSE IN
                      PARTIAL OPPOSITION TO
           PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the United States Court of International Trade (USCIT),

defendant, the United States (the Government), respectfully cross-moves this Court for an order

(1) denying in part plaintiff R.H. Peterson Co.’s (RH Peterson) motion for summary judgment;

(2) granting defendant’s cross-motion for summary judgment; (3) entering an order directing

U.S. Customs and Border Protection (Customs or CBP) to calculate antidumping and

countervailing duties on the subject merchandise based on the value of [[      ]] per sink kit for

Entry Nos. D14-1432445-3, D14-1434025-1, and D14-1435146-4; (4) entering an order

directing CBP to calculate antidumping and countervailing duties on the subject merchandise

based on the value of [[      ]] per sink kit for Entry No. D14-1430362-2; (5) denying Count I

of plaintiff’s complaint with respect to Entry No. D14-1430362-2; and (6) granting the

Government such other and further relief as may be just and appropriate.




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                                       INTRODUCTION

       This case concerns CBP’s assessment of antidumping and countervailing duties

(AD/CVD) on stainless steel sink kits from the People’s Republic of China that are subject to

antidumping and countervailing duty orders (the AD/CVD Orders). The case presents the

straightforward legal question of whether CBP should assess AD/CVD on the entered value of

the sink kits pursuant to the AD/CVD Orders and instructions issued by the U.S. Department of

Commerce (Commerce) covering stainless steel sinks from China, including any value added to

the sinks by finishing work performed in Taiwan.

       There is no dispute that, at the time the Chinese sink kits were imported, they were

subject to the AD/CVD Orders. After finishing work was performed in Taiwan, the merchandise

consisted of “drawn stainless steel sinks,” and components, with covered components like the

dampening pad installed, the brand logo stamped on the sink, and the sink’s surface cleaned.

The imported finished sink kits were still, as a matter of law, a product of China. RH Peterson

does not contend that the finishing work in Taiwan “substantially transformed” the sinks such

that the country of origin was no longer China. Accordingly, the correct value for the purpose of

assessing AD/CVD is the “entered value” of the finished sink kits, which, by statute, is the “price

actually paid or payable for the merchandise when sold for exportation to the United States.” 19

U.S.C. § 1401(a)(b)(1) (emphasis added). That statutorily prescribed value includes not only the

value added by the finishing work performed in Taiwan, but also the value of the component

parts included with the imported sinks that are not specifically excluded from the scope of the

AD/CVD Orders, including the instruction manual and the carton in which the sinks were

packaged.




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       RH Peterson attempts to confuse this straightforward issue by advancing the unsupported

contention that AD/CVD applies only to the value of the good at the time it leaves the country

subject to an AD/CVD order even where, as a matter of law, the good remains a product of the

subject country at the time the merchandise enters the United States. There is no legal support

for RH Peterson’s position. Instead, RH Peterson asks the Court to conflate product components

explicitly excluded by the AD/CVD Orders with finishing work performed in a non-subject

country that adds value but does not alter the country of origin of the covered product. Were the

Court to adopt RH Peterson’s legal theory, such a rule would create a system in which an

importer could lower the imported value of a good subject to AD/CVD by passing it through a

third country for finishing work that, while not substantially transformative, adds some value.

That is not the law, and the Court should therefore grant the Government’s motion.

                                        BACKGROUND

           a. Factual Background

       This case involves four entries, each containing 500 stainless steel sink kits imported by

RH Peterson in 2016 and 2017. Gov’t Statement of Additional Undisputed Material Facts

(Gov’t 56.3) ¶¶ 1, 3. At the time of importation to the United States, each sink kit included a

finished stainless-steel sink with additional components, and had been finished by: (a) a brand

logo stamped onto the side of the sink; (b) a hole stamped into the sink to be used as the drain;

(c) a hole stamped into the sink to be used for a faucet; (d) a dampening pad affixed to the sink,

and (e) brackets attached to the sink so that it can be mounted to a countertop upon installation.

Id. ¶¶ 10-11. Each entry also included a drainer pipe, drainer, sealing rings/gasket, and an

instruction manual, and each sink kit was packed in a carton for transport (the same white

cardboard box is used to ship the sinks from China to Taiwan and then from Taiwan to the



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United States). Id. ¶¶ 12-14. The sink bucket, drainer pipe, drainer, instruction manual, sealing

ring/gasket, dampening pad, and bracket kits were all manufactured in China. Id. ¶¶ 15-16. The

only parts in the entire kit not manufactured in China are the brackets, which were manufactured

in Taiwan. Id. ¶¶ 15-16. The Taiwanese brackets are affixed to the sink and, in conjunction with

the separately included bracket kits, allow the purchaser to attach the sink onto a countertop

during installation. Id. ¶ 25.

       RH Peterson purchased the sink kits from UIMCO, a Taiwanese company, and relied on

UIMCO to source the needed components. Id. ¶¶ 16-18. UIMCO sourced the sink buckets,

drainer pipes, drainers, instruction manuals, sealing rings/gaskets, dampening pads, and bracket

kits from a Chinese company called Wenzhou Wolon Sanitary and Bath Wares Co, Ltd.

(Wenzhou Wolon). Id. ¶ 20. Wenzhou Wolon shipped these items from China to Taiwan, at

which point a Taiwanese company, Hung Ting Metals, performed finishing work on the sinks.

Id. ¶¶ 21-24. Namely, Hung Ting Metals: stamped a drain hole into the sink bucket, stamped a

company logo onto the sink bucket, stamped a faucet hole into the sink bucket, welded the

brackets to the sink bucket, cleaned the surface of the sink, applied the dampening pad to the

sink bucket, and packed the sink kit for shipment to the United States. Id. ¶ 24.

       RH Peterson imported the subject sink kits under cover of four entries (and under

Line 002 for each entry): Entry No. D14-1430362-2 (entered November 9, 2016); Entry

No. D14-1432445-3 (entered on February 15, 2017); Entry No. D14-1434025-1 (entered on

April 26, 2017); and Entry No. D14-1435146-4 (entered on June 13, 2017). Id. ¶¶ 2, 4. At the

time of entry, RH Peterson declared Taiwan as the country of origin for the subject sink kits and

designated the entries as Type 01 (consumption) entries, indicating that the sink kits were not

subject to either antidumping or countervailing duties. Id. ¶ 5. For Entry Nos. D14-1430-362-2,



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D14-1432445-3, D14-1434025-1, and D14-1435146-4, RH Peterson declared the total entered

value for the 500 sinks as [[            ]], or [[           ]] per sink kit. Id. ¶¶ 6, 8. For Entry No. D14-

1430362-2, RH Peterson declared the total entered value for the 500 sink kits as [[                       ]], or

[[       ]] per sink kit. Id. ¶¶ 7, 9.

        These amounts reflect what RH Peterson paid UIMCO for the merchandise. Id. ¶ 18.

UIMCO charged RH Peterson [[                 ]] for each stainless-steel sink, which it referenced as a

“sink” on its invoice at the price of [[             ]] per sink for the unfinished sink bowl, sealing

rings/gasket, bracket kits, and dampening pads, [[                ]] for the drainer pipe, drainer, and

instruction manual, and [[        ]] per sink for the carton. Id. ¶¶ 26-27. For each of the subject

sink kits, UIMCO charged RH Peterson [[                 ]] for machining, which included the finishing

work performed by Hung Ting Metals described above. Id. ¶ 28. For each of the subject sink

kits, UICMO charged RH Peterson [[               ]] for “freight.” Id. ¶ 29. Finally, UIMCO charged

RH Peterson [[        ]] per sink for a “QC and handling charge” for Entry Nos. D14-1432445-3,

D14-1434025-1, and D14-1435146-4, and [[                     ]] per sink for Entry No. D14-1430362-2.

UIMCO also charted RH Peterson [[               ]] per sink for “freight.” Id. ¶¶ 30-31.

        Despite the fact that RH Peterson entered the merchandise with Taiwan as the country of

origin, CBP subsequently determined that the country of origin was China, not Taiwan, and

applied AD/CVD to the entered value declared by RH Peterson of [[                      ]] per sink kit for

Entry Nos. D14-1432445-3, D14-1434025-1, and D14-1435146-4 and [[                          ]] per sink kit for

Entry No. D14-1430362-2. Pl.’s SUMF ¶ 16; Gov’t 56.3 ¶ 7. RH Peterson timely protested

CBP’s decisions in Protest No. 2704-18-101857 and Protest No. 2704-18-100444. Gov’t 56.3 ¶

32. Notably, RH Peterson did not protest CBP’s decision to change the country of origin from

Taiwan, which RH Peterson had incorrectly declared on its entry paperwork, to China. Id. ¶ 33.



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In fact, RH Peterson subsequently agreed with CBP that the subject sinks “are covered by the

antidumping duty order on stainless steel sinks from China.” Id. ¶ 37. RH Peterson explained

that, once CBP questioned the country of origin declared on the entry paperwork, RH Peterson

contacted UIMCO, which confirmed that the country of origin was China for the sink and all

included components other than the brackets. Id. ¶ 38. RH Peterson has since modified the

process by which it imports sinks, and now only imports sinks manufactured in Taiwan to avoid

antidumping and countervailing duties. Id. ¶¶ 39-40.

       RH Peterson protested the liquidation of the merchandise arguing that CBP improperly

included the value of certain components (drainer, drainer pipe, instructions, carton) as well as

the finishing work, labor, and processing performed in Taiwan, when assessing the requisite

antidumping and countervailing duties. Id. ¶ 34. CBP denied Protest No. 2704-18-101857 in

full, and denied-in-part Protest No. 2704-18-100444. Id. ¶ 35. After deciding Protest No. 2704-

18-100444, CBP reliquidated Entry No. D14-1430362-2 and removed the value of the drainer

pipes, drainers, cartons, and instruction manuals from its assessment of AD/CVD on the subject

sinks, reducing the value for assessing AD/CVD on the sink kits in this entry from

        ]]. Id. ¶ 36. RH Peterson subsequently filed requests to void each of the protest denials,

both of which Customs denied. Pl.’s SUMF ¶ 25. On November 29, 2022, RH Peterson filed

the instant Complaint. ECF No. 13.

           b. The AD/CVD Orders

       The AD/CVD Orders at issue in this case cover drawn stainless steel sinks from China,

which are described as follows:

               The products covered by the scope of this order are drawn stainless
               steel sinks with single or multiple drawn bowls, with or without
               drain boards, whether finished or unfinished, regardless of type of
               finish, gauge, or grade of stainless steel. Mounting clips, fasteners,

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               seals, and sound-deadening pads are also covered by the scope of
               this order if they are included within the sales price of the drawn
               stainless steel sinks. [ . . . ] Drawn stainless steel sinks are covered
               by the scope of the order whether or not they are sold in conjunction
               with non-subject accessories such as faucets (whether attached or
               unattached), strainers, strainer sets, rinsing baskets, bottom grids, or
               other accessories.

               The products covered by this order are currently classified in the
               Harmonized Tariff Schedule of the United States (“HTSUS”) under
               statistical reporting number 7324.10.0000 and 7324.10.00.10.
               Although the HTSUS subheadings are provided for convenience and
               customs purposes, the written description of the scope is dispositive.

See Drawn Stainless Steel Sinks from the People’s Republic of China: Amended Final

Determination of Sales at Less Than Fair Value and Antidumping Duty Order, 78 Fed. Reg.

21,592 (Dep’t of Commerce Apr. 11, 2013); Drawn Stainless Steel Sinks from the People’s

Republic of China: Countervailing Duty Order, 78 Fed. Reg. 21,596 (Dep’t of Commerce Apr.

11, 2013). RH Peterson did not seek a scope ruling relating to the AD/CVD Order.

                                  QUESTIONS PRESENTED

The questions presented in the parties’ cross-motions for summary judgment are:

       (1) Whether, for merchandise covered by an AD/CVD order, CBP may include, for
           purposes of assessing AD/CVD, the value added to the merchandise by finishing
           work and labor performed in a foreign country other than the one subject to the order,
           even when the country of origin of the merchandise remains unchanged after that
           work is complete.

       (2) Whether the value of an instruction manual included in the subject sink kits, and the
           carton within which the subject sink kits are packaged, are properly considered as part
           of the dutiable value, when neither item is expressly excluded from the scope of an
           AD/CVD Order.

                                 SUMMARY OF ARGUMENT

       First, the AD/CVD Orders cover “drawn stainless steel sinks from China.” At the time

the merchandise entered the United States, it is undisputed that the finished sinks were “drawn

stainless sinks from China,” even after the finishing work performed in Taiwan. RH Peterson

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does not—and cannot—argue that the work performed in Taiwan “substantially transformed” the

merchandise such that the country of origin was no longer China. Nor does RH Peterson suggest

that the subject merchandise became something other than “drawn stainless steel sinks.”

Accordingly, CBP correctly assessed AD/CVD on the “entered value” of the merchandise, less

the value of any non-covered components, which is determined by the “price actually paid or

payable for the merchandise when sold for exportation to the United States.”19 U.S.C.

§ 1401(a)(b)(1). That price correctly includes the value of the finishing work and labor

performed in Taiwan.

         Second, the value of the instruction manual and the carton are properly included in the

value of the merchandise for purposes of assessing AD/CVD.1 The instruction manual imported

as part of the sink kits is not explicitly excluded from the scope of the AD/CVD Orders. The

value of the carton constitutes packing costs incurred by RH Peterson with respect to the

imported merchandise, which is included as part of transaction value. 19 U.S.C. § 1401(a)(h)(3).

Therefore, the instructions and the packaging are part and parcel of the entered value of the

subject merchandise pursuant to 19 U.S.C. § 1401(a)(b)(1).

                                           ARGUMENT

   I.        Standard of Review

         Under Rule 56 of the United States Court of International Trade (USCIT), summary

judgment is appropriate, “if the movant shows that there is no genuine dispute to any material

fact and the movant is entitled to judgment as a matter of law.” USCIT Rule 56(a); see also

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The Court must determine “whether there




         1
         As explained below, the Government agrees with RH Peterson that the drainer and
drainer pipe are not within the scope of the AD/CVD Orders.
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are any factual disputes that are material to the resolution of the action.” Texas Apparel Co. v.

United States, 698 F. Supp. 932, 934 (Ct. Int’l Trade 1988), aff’d, 883 F.2d 66 (Fed. Cir. 1989),

cert. denied, 493 U.S. 1024 (1990); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(1986).

          In determining whether a genuine, material issue of fact exists, a court reviews the

evidence submitted drawing all inferences against the moving party. See Matsushita Elecs.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The movant bears the burden of

demonstrating that there exists no genuine issue of material fact that would warrant a trial. See,

e.g., Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). At summary judgment, “the judge’s

function is not himself to weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249; see Ford Motor

Co. v. United States, 157 F.3d 849, 854 (Fed. Cir. 1998). However, “there is no issue for trial

unless there is sufficient evidence favoring the nonmoving party for a jury to return a verdict for

that party.” Anderson, 477 U.S. at 249 (emphasis added).

   II.       CBP Assesses AD/CVD On The Entered Value Of The Merchandise

          Commerce directs CBP to assess AD/CVD on the “entered value” of the merchandise

covered by the relevant AD/CVD order, less the value of any non-covered components.

19 C.F.R. § 351.212(b)(1) (“The Secretary [. . . ] will instruct the Customs Service to assess

antidumping duties by applying the assessment rate to the entered value of the merchandise.”)

(emphasis added); § 351.212(b)(2) (“The Secretary normally will instruct the Customs Service to

assess countervailing duties by applying the rates included in the final results of the review to the

entered value of the merchandise.”) (emphasis added). The “entered value” of the imported

merchandise is determined by statute and is normally the “price actually paid or payable for the



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merchandise when sold for exportation to the United States, plus specific additions.” Meyer

Corp. U.S., v. United States, 43 F.4th 1325, 1332 (Fed. Cir. 2022) (quoting 19 U.S.C. §

1401(a)(b)(1)) (emphasis added).

             This straightforward rule is reflected in Commerce’s directives with respect to the

AD/CVD Orders at issue in this case. Commerce instructed CBP that “if CBP determines that

the product meets the description of merchandise subject to the AD/CVD orders on drawn

stainless steel sinks, it should assess AD/CVD on the value of the full product.” Commerce

AD/CVD Portal Message (Gov’t Ex. 3) at 3. Commerce explained that, to the extent the covered

merchandise is imported with non-subject merchandise, such “exception[s]” will be articulated in

the scope language, and “i[f] the importer believes the final product entering the U.S. is not

subject to the relevant AD/CVD orders, it may request a scope ruling from Commerce.” Id.

      III.       The Value Added To The Subject Sinks In Taiwan Is Properly Included For Purposes
                 Of Assessing AD/CVD, But the Value of the Drainer and Drainer Pipe Is Not.

                 a. The Government agrees that the drainer and drainer pipe are not within the scope
                    of the AD/CVD Orders.

             The Government agrees with RH Peterson that the drainer and drainer pipe are excluded

from the scope of the AD/CVD Orders. These parts are excluded because, in a separate Final

Scope Ruling, Commerce explicitly stated drainer and drainer pipes are non-subject accessories.

See Final Scope Ruling on Simpli Home’s Laundry Cabinets (Pl.’s Ex. 6, ECF No. 50-1 at 124).

Accordingly, CBP erred in assessing AD/CVD on the value of the drainer and drainer pipe upon

liquidation of Entry Nos. D14-1432445-3, D14-1434025-1, D14-1435146-4, and D14-1430362-

2.2



             2
         However, as we discuss infra at p.19, after partially approving and partially denying
Protest No. 2704-18-100444, CBP reliquidated Entry No. D14-1430362-2 and did not include
the value of the drainer and drainer pipe in its assessment of AD/CVD on the subject sink kits.
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           b. After the finishing work performed in Taiwan, the sinks remained drawn stainless
              steel sinks from China subject to the Orders, and therefore the entered value of the
              subject merchandise determines the value for purposes of assessing AD/CVD.

       It is undisputed that the subject sink kits are drawn stainless steel sinks from China and

therefore covered by the AD/CVD Orders. Gov’t 56.3 ¶ 26. Accordingly, as outlined above,

CBP correctly assessed AD/CVD on the “entered value” of the sink kits, less the value of any

explicitly excluded components under the AD/CVD Orders. Because nothing about the minimal

finishing work and labor performed in Taiwan removed the sink kits from the scope of the

AD/CVD Orders, the value added by the Taiwan work and labor is part of the “entered value” of

the sink kits, and therefore properly included in the value for purposes of assessing AD/CVD.

       First, it is undisputed that the finished sinks were “drawn stainless steel sinks” under the

AD/CVD Orders even after the work in Taiwan was performed. The work done in Taiwan—

such as, for example, stamping the faucet hole into the sink or welding brackets onto the sink—

merely finished the sink such that it could be used in commerce as a sink. The AD/CVD Orders

plainly contemplate the value of this type of work, as the Orders expressly cover both “finished

or unfinished” sinks.

       Further to the point, one of the actions performed in Taiwan was the application of the

dampening pad to the sink bucket. Gov’t 56.3 ¶ 11. It does not follow that while the dampening

pad is explicitly covered by the order, the application of the dampening pad—that is, the action

necessary to allow the dampening pad to perform its intended function as part of the sink—is

not. Accordingly, RH Peterson cannot credibly argue that, after the finishing work performed in

Taiwan, the imported sinks were not “drawn stainless steel sinks” and somehow not subject to




Gov.t 56.3 ¶ 36. Accordingly, RH Peterson has already received its requested relief under Count
I of the complaint for Entry No. D14-1430362-2, see infra p. 17.
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the AD/CVD Orders for that reason. See 19 U.S.C. § 1677(25) (“subject merchandise” in the

AD/CVD context means “the class or kind of merchandise that is within the scope of the

order.”).

       Second, it is also undisputed that, at the time the merchandise entered the United States,

the country of origin of the subject sink kits was China, and that all components of the sink kits,

other than the brackets, were manufactured in China. Gov’t 56.3 ¶¶ 15, 37-38. For the finishing

work performed in Taiwan to change the country of origin of the sink kits, the work would have

had to effect a “substantial transformation” of the sinks. See Bell Supply Co., LLC v. United

States, 888 F.3d 1222, 1228-29 (Fed. Cir. 2018) (in general, the substantial transformation test is

used to determine country of origin for an imported article and listing the factors Commerce

considers when determining whether a substantial transformation has occurred); Meyer Corp v.

United States, 255 F. Supp. 3d 1348, 1355 n.13 (Ct. Int’l Trade 2017) (“Further work or material

added to an article in another country must effect a substantial transformation in order to render

such other country the country of origin[.]”) (citing 19 C.F.R. § 134.1(b)). RH Peterson,

however, does not contend that the work performed in Taiwan “substantially transformed” the

sinks from products of China to products of Taiwan. 3 To the contrary, RH Peterson agrees that it




       3
          Nor could plaintiff do so. First, plaintiff has waived that argument. Arlanxeo USA
LLC v. United States, 389 F. Supp. 3d 1330, 1339 n.1 (Ct. Int’l Trade 2019) (failure to raise
argument in opening brief leads to waiver of argument). Indeed, plaintiff itself distinguished
between the process it used to import the sinks subject to this litigation, which were
manufactured in China, with its current process, in which plaintiff manufactures the sinks in
Taiwan so as to antidumping or countervailing duties. Gov’t 56.3 ¶¶ 28-29. Even if plaintiff had
not waived the argument, the minor work performed in Taiwan—such as stamping the
company’s logo, applying the dampening pad, and cleaning the sink surface—does not come
close to a “substantial transformation,” as the “name, character, [and] use” of the sinks remained
the same. See Meyer Corp., U.S., 43 F.4th at 1330 (“To find a substantial transformation we
consider whether an article emerges form a manufacturing process with a name, character, or use
which differs from those of the original material subjected to the process”) (quotation marks and
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was mistaken when it originally entered the merchandise as a product of Taiwan, and that “the

stainless steel sinks are subject to existing antidumping and countervailing duty orders covering

stainless [steel] sinks form China.” Gov’t 56.3 ¶ 37. Accordingly, as a matter of law, at the time

the merchandise entered the United States, the subject sink kits were products of China.

       Nor did the brackets affixed to the sink change the country of origin of the sink kits, even

though the brackets were manufactured in Taiwan. Other than relying on non-binding deposition

testimony, see infra p. 14, RH Peterson can provide no legal support for its suggestion that the

value of the brackets—which are affixed to the sink such that the sink can be mounted to a

countertop during installation and is included in the price RH Peterson paid for the sink—is not

properly included for purposes of assessing AD/CVD.

           c. RH Peterson wrongly conflates non-covered components with value added in
              Taiwan.

       RH Peterson argues that “the AD/CVD orders only contemplate assessing AD/CVD on

sinks and certain specific related parts originating from China, not on parts, services, or other

costs occurring after exportation from China in a foreign country, in this case, Taiwan.” Pl.’s Br.

at 18. Essentially, RH Peterson asks the Court to treat the finishing work and brackets attached

in Taiwan as akin to explicitly non-covered sink components. Such a rule would improperly

create a system in which an importer could lower the value of a good subject to AD/CVD by

passing it through a third country for finishing work that, while not substantially transformative,

adds some value. But that is not the law, and RH Peterson cites no relevant support for its

proposition.




citations omitted). Plaintiff also has not raised, and therefore has waived, an argument that the
so-called “first sale rule” should apply in this case.
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       First, RH Peterson places great weight on its assertion that the Government’s USCIT

Rule 30(b)(6) witness agreed with its argument regarding the Taiwanese finishing work—

including that the brackets made in Taiwan should not be included in the scope of the order—at

his deposition. Pl. Br. at 18. But the witness’ testimony reflected conclusions of law, and it is

well settled that “legal conclusions given during a 30(b)(6) deposition are generally not binding

on the deponent entity.” Akpeneye v. United States, 990 F.3d 1373, 1383 (Fed. Cir. 2021); see

also, e.g., S. Wine & Spirits of Am., Inc. v. Div. of Alcohol & Tobacco Control, 731 F.3d 799,

811 (8th Cir. 2013) (“a 30(b)(6) witnesses’ legal conclusions are not binding on the party who

designated him”); AstenJohnson, Inc. v. Columbia Cas. Co., 562 F.3d 213, 229 n.9 (3d Cir.

2009) (noting that a Rule 30(b)(6) designee’s own interpretation of a contract was a legal

conclusion not binding on designating defendant). Accordingly, the Government’s USCIT R.

30(b)(6) witness’s testimony with respect to legal conclusions is not binding on the Government

and does not alter the straightforward legal analysis of the correct value for purposes of assessing

AD/CVD duties as described above.

       Second, RH Peterson argues that CBP’s Cargo Systems Messaging Service (CSMS)

message number 18-00379 demonstrates that CBP is “to assess AD/CVD only on [the] value of

the components of a product that were produced in the country to which the AD/CVD order

applies, not to assess AD/CVD on the product’s entire entered value.” Pl.’s Br. at 4 n.1. RH

Peterson misconstrues CSMS 18-000379. RH Peterson draws the Court’s attention to an

example provided in the bulletin for use of special value fields, which explains that, in applying

an AD/CVD order on aluminum extrusions from China to a shipment of glass refrigerator shelf

subassemblies containing both aluminum and non-aluminum extrusion components, CBP should




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apply AD/CVD only to the aluminum components, and exclude the value of the non-aluminum

extrusions for assessing AD/CVD. Pl.’s Ex. 15, ECF No. 50-1 at 287.

       CSMS 18-000379 makes the uncontroversial point that, in an entry with both explicitly

covered and non-covered components, only the value of the covered components should be

included for purposes of assessing AD/CVD. See, e.g., Gov’t Ex. 3 at 3 (Commerce instructed

CBP that “if CBP determines that the product meets the description of merchandise subject to the

AD/CVD orders on drawn stainless steel sinks, it should assess AD/CVD on the value of the full

product.”); and 19 C.F.R. § 351.212(b)(1) (“The Secretary [. . . ] will instruct the Customs

Service to assess antidumping duties by applying the assessment rate to the entered value of the

merchandise.”); § 351.212(b)(2) (“The Secretary normally will instruct the Customs Service to

assess countervailing duties by applying the rates included in the final results of the review to the

entered value of the merchandise.”).

       Commerce has subsequently determined that the drainer pipe and drainer are not within

the scope of the AD/CVD Order. The Government therefore agrees that the value of the drainer

and drainer pipe are properly excluded from AD/CVD assessment. Here, though, RH Peterson

makes the unsupported analytical leap that the finishing work performed in Taiwan is somehow

akin to non-covered components and therefore the value of that work should not be included for

purposes of assessing AD/CVD. However, the concept of Commerce expressly excluding

components from the scope of an AD/CVD order—like the non-aluminum extrusions in the

example provided in CSMS 18-000379—is not analogous to excluding additional processing

work that is included in the entered value of the merchandise—like applying the dampening

pad—that finishes the sink and allow it to function as the very item Commerce promulgated the

AD/CVD Orders to cover. Contrary to RH Peterson’s assertion, therefore, the Government is



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not abandoning the reasoning in CSMS 18-000379—its reasoning simply does not support RH

Peterson’s position.

        Nor do any of the other sources referenced in RH Peterson’s brief support its erroneous

position. In Midwest Fastener Corp. v. United States, 435 F. Supp. 3d 1262, 1265 (Ct. Int’l

Trade 2020), Pl.’s Br. at 16-17, this Court found that Commerce’s scope determination of an

anti-dumping order covering certain steel nails on remand “continue[d] to be unsupported by

substantial evidence.” At issue were plaintiff’s “strike pin anchors,” which “have four

components – a steel pin, a threaded body, a nut and a flash washer.” Id. The Court held that

“[t]he scope of the order in this case does not reach nails included within other products,” and

that “[e]ither the entire strike pin anchor is a nail, or it is not.” Id. at 1272. Based on its holding,

the Court rejected Commerce’s proposal, relying on CSMS 18-000379, to instruct Customs “that

only the pin component of [plaintiff’s] strike pin anchor, and no other components, is dutiable”

under the order.” Id. In other words, CBP’s ability as outlined in CSMS 18-000379 to assess

duties on covered components but not on non-covered components was immaterial because the

product at issue presented a binary choice for the applicability of the anti-dumping order (i.e.,

nail or not a nail), as opposed to a choice between covered and non-covered components.

Nothing in the Court’s holding in that case supports RH Peterson’s position here.

        Similarly, CBP’s New York Ruling N339557, Pl.’s Br. at 16, provides no support for RH

Peterson’s position.4 That ruling letter concerned a bathroom vanity comprised of a wood

cabinet base, a stone countertop, and a stainless-steel sink. There was no dispute that the only



        4
         Also like CSMS 18-000379, CBP’s ruling in NY N339557 is immaterial in the context
of the Court’s de novo review. CBP’s rulings are not binding on the Court, see MetChem, Inc. v.
United States, 513 F.3d 1342, 1345 (Fed. Cir. 2008), and are not entitled to deference when they
do not pertain to the merchandise under consideration. Lerner New York, Inc. v. United States,
908 F. Supp. 2d 1313, 1331 (Ct. Int’l Trade 2013).
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component of the vanity subject to AD/CVD was the Chinese stainless-steel sink. CBP

performed a “substantial transformation” analysis and determined that “[s]ince the Chinese

stainless-steel sink is merely packaged with the cabinet base and countertop, and does not

undergo a substantial transformation and retains its identify as a Chinese sink,” it remained

subject to AD/CVD. NY N339557 at 6. Like CSMS 18-000379 discussed above, the ruling

stands for the uncontroversial position that CBP applies AD/CVD to covered components but not

to excluded components and does not support RH Peterson’s attempt to carve out the value of the

processing in Taiwan.

           d. The value of the instructions and carton are properly included for purposes of
              assessing AD/CVD.

       Next, RH Peterson argues that CBP improperly included both the value of the instruction

manuals included with the sink kits, and the carton into which the sink kits are packaged, when it

assessed AD/CVD on the subject merchandise. 5 Not so. First, the instructions are included in

each sink kit, and their value is included in RH Peterson’s costs for the sinks at the time of

importation to the United States. Gov’t 56.3 ¶¶ 12, 26-27. CBP is therefore statutorily obligated

to include their value in assessing AD/CVD. 19 U.S.C. § 1401(a)(b)(1) (“transaction value of

imported merchandise is the price actually paid or payable for the merchandise when sold for

importation to the United States . . . .”). Second, the carton is the packing material into which

the sink and accessories are placed for shipment, Gov’t 56.3 ¶¶ 13-14, and the transaction value

of imported merchandise includes “the packing costs incurred by the buyer with respect to the




       5
         RH Peterson also argues that the value of the drainer and drainer pipe should not be
included for purposes of assessing AD/CVD duties. As noted above, supra p. 10 the
Government does not dispute this.
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imported merchandise.” 19 U.S.C. § 1401(a)(b)(1)(A). Accordingly, the value of the carton is

properly included in the entered value of the merchandise.

       Finally, to the extent RH Peterson is challenging whether any of the components of the

imported merchandise are outside the scope of the AD/CVD Orders in this action, RH Peterson

must pursue its administrative remedies with Commerce, not with CBP. While "Customs is both

empowered and obligated to determine in the first instance whether goods are subject to existing

antidumping or countervailing duty orders [. . .] [i]f an importer disagrees with Customs'

determination, the proper remedy is for the importer to seek a scope inquiry from Commerce, the

result of which may subsequently be challenged” in the CIT. TR Int’l Trading Co., Inc. v. United

States, 4 F.4th 1363, 1369 (Fed. Cir. 2021) (citations omitted); see 19 U.S.C. § 1514(b) (CBP’s

decision on trade remedy orders are final and conclusive unless the importer files a complaint

under 19 U.S.C. § 1516(a), the statutory provision providing for challenges to Commerce scope

determinations). “Failure to timely seek a scope determination bars an importer from attempting

to challenge in the Court of International Trade Customs’ denial of a protest to Customs'

application of an antidumping order to particular imports.” Sandvik Steel Co v. United States,

164 F.3d 596, 600 (Fed. Cir. 1998).

       Here, RH Peterson has filed suit under § 1581(a) to challenge CBP’s denial of Protest

No. 1704-18-101857 and partial denial of Protest No. 2704-18-100444. RH Peterson argues that

CBP improperly included the value of the drainer, drainer pipe, instruction manual, and carton,

as well as the value of the processing work and labor in Taiwan, in assessing AD/CVD on the

subject sink kits, because these items are not within the scope of the AD/CVD Orders. To the

extent RH Peterson is challenging CBP’s application of the AD/CVD Orders, its argument fails

because, as demonstrated above, CBP properly calculated the value of the merchandise.



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Alternatively, to the extent RH Peterson is challenging CBP’s interpretation of the AD/CVD

Orders, including the determination that certain components are not outside the scope of the

order, it is foreclosed from doing so under this § 1581(a) action because it failed to seek a scope

ruling from Commerce, and, if appropriate, pursue relief with this Court under § 1581(c).

Sandvik, 164 F.3d at 600.

   IV.       RH Peterson Has Already Received The Relief It Requested On Count I Of The
             Complaint For Entry No. D14-1430362-2 And Therefore Count I For That Entry
             Must Be Denied.

         RH Peterson fails to state a claim upon which relief can be granted as to Count I of the

complaint with respect to Entry No. D14-14130362-2. Count I of the complaint alleges that

“China components of the imported finished sinks and kits that are specifically excluded from

and outside the scope of the ADD/CVD orders and are not subject to ADD/CVD,” and

“ADD/CVD may not be assessed on the value of excluded components.” Compl. ¶¶ 20-21. In

its prayer for relief, RH Peterson asks, in relevant part, that the “CIT hold [that the] China

components of Plaintiff’s imported finished sinks and kits that are specifically excluded from

and outside the scope of the ADD/CVD orders are not subject to ADD/CVD.” Compl. ¶ 25.

         As explained above, on November 6, 2019, CBP partially approved and partially denied

Protest No. 2704-18-100444, which challenged CBP’s liquidation with respect to the assessment

of AD/CVD on the subject sink kits for Entry No. D14-1430362-2. 6 For the part that was

approved, CBP accepted RH Peterson’s argument that the drainer pipe and drainer were not

covered by the AD/CVD Orders. On November 15, 2019, CBP reliquidated Entry No. D14-




         6
          As stated above, the subject sink kits were entered under Entry Line 002 for all four
entries at issue. For Entry No. D14-1430362-2, only Line 002 contained the subject sink kits and
CBP assessed AD/CVD only on Line 002 of that Entry. CBP did not assess AD/CVD on Line
001 or Line 003, the only other Lines in the Entry.
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1430362-2, reducing the total value for assessing AD/CVD by the collective value of the drainer,

drainer pipe, carton, and instructions, which was [[

              ].7 For the part that was denied, CBP rejected RH Peterson’s arguments with

respect to the value added to the sink kits by processing work and labor in Taiwan. Count I of

the complaint only covers “China Sink Components.” Compl. ¶¶ 19-20. Therefore, RH

Peterson has received the relief it seeks under Count I of its complaint for this entry (which,

again, only covers “China Sink Components” and not the value added to the sink kits in Taiwan,

which is covered by Count II and for which RH Peterson has not received its requested relief),

and its claim should be denied with respect to this entry.

    V.       RH Peterson’s Argument Regarding “Substantial Justification” Is Irrelevant And
             Should Be Disregarded.

         RH Peterson devotes the final portion of its brief to a so-called “request to find the

government’s litigation position not substantially justified.” Pl.’s Br. at 20-21. First, like many

of RH Peterson’s statements of “undisputed” facts 8, this section of RH Peterson’s brief is

irrelevant to the questions presented by the parties’ cross-motions for summary judgment and

should therefore be ignored. Second, RH Peterson fails to include a single legal citation to

support its analysis. Third, RH Peterson’s characterization of the Government’s litigation

position is flatly incorrect. As this brief demonstrates, the Government’s position is backed by

sound legal analysis, and RH Peterson’s empty threats played no factor in the Government’s

analysis of this case.




         7
          As we have indicated, CBP erred by excluding the value of the carton and the
instruction manuals from its assessment of AD/CVD when it reliquidated Entry No. D14-
1430362-2 following its partial approval of this protest.
        8
          See Government’s Response to RH Peterson’s Statement of Undisputed Facts, ECF
No. 53-2, outlining a number of paragraphs that are either not facts or are immaterial, or both.
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                                         CONCLUSION

       The Government respectfully cross-moves this Court for an order: (1) denying in part

plaintiff R. H. Peterson Co.’s (RH Peterson) motion for summary judgment; (2) granting

defendant’s cross-motion for summary judgment; (3) entering an order directing U.S. Customs

and Border Protection (Customs or CBP) to calculate antidumping and countervailing duties on

the subject merchandise based on the value of [[           ]] per sink for Entry Nos. D14-1432445-

3, D14-1434025-1, and D14-1435146-4; (4) entering an order directing CBP to calculate

antidumping and countervailing duties on the subject merchandise based on the value of

[[      ]] per sink for Entry No. D14-1430362-2; (5) dismissing Count I of plaintiff’s complaint

with respect to Entry No. D14-1430362-2; and (6) granting the Government such other and

further relief as may be just and appropriate.




                                                 Respectfully submitted,

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